        Case 1:25-cv-00648      Document 1   Filed 03/05/25     Page 1 of 34




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

NATIONAL ENDOWMENT FOR
DEMOCRACY,
1201 Pennsylvania Avenue NW
Suite 1100
Washington, DC 20004;

                   Plaintiff,

v.

THE UNITED STATES OF AMERICA;

UNITED STATES DEPARTMENT OF
STATE,
2201 C Street NW
Washington, DC 20520;

MARCO RUBIO, UNITED STATES
SECRETARY OF STATE, in his official
                                             Case No. _______
capacity,
2201 C Street NW
                                             COMPLAINT FOR DECLARATORY
Washington, DC 20520;
                                             AND INJUNCTIVE RELIEF AND
                                             PETITION FOR WRIT OF
UNITED STATES OFFICE OF
                                             MANDAMUS
MANAGEMENT AND BUDGET,
725 17th Street NW
Washington, DC 20503;

RUSSELL VOUGHT, DIRECTOR OF
UNITED STATES OFFICE OF
MANAGEMENT AND BUDGET, in his
official capacity,
725 17th Street NW
Washington, DC 20503;

UNITED STATES DEPARTMENT OF
TREASURY,
1500 Pennsylvania Avenue NW
Washington, DC 20220;

SCOTT BESSENT, UNITED STATES
SECRETARY OF THE TREASURY, in his
official capacity,
            Case 1:25-cv-00648      Document 1      Filed 03/05/25     Page 2 of 34




1500 Pennsylvania Avenue NW
Washington, DC 20220;

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES,
Hubert H. Humphrey Building
200 Independence Avenue SW
Washington, DC 20201;

ROBERT F. KENNEDY, JR., THE UNITED
STATES SECRETARY DEPARTMENT OF
HEALTH AND HUMAN SERVICES, in his
official capacity,
U.S. Department of Health and Human
Services
Hubert H. Humphrey Building
200 Independence Avenue SW
Washington, DC 20201;

and

MELISSA BRUCE, DIRECTOR OF THE
UNITED STATES SECRETARY
DEPARTMENT OF HEALTH AND
HUMAN SERVICES’ PROGRAM
SUPPORT CENTER, in her official capacity,
U.S. Department of Health and Human
Services
Hubert H. Humphrey Building
200 Independence Avenue SW
Washington, DC 20201;

                      Defendants.


                                        COMPLAINT

       1.      This case concerns the Executive Branch’s unlawful impoundment of funds that

Congress appropriated for the National Endowment for Democracy (the “Endowment” or

“NED”). In the National Endowment for Democracy Act of 1983 (the “NED Act”), Congress

formally recognized the establishment of the Endowment as a private nonprofit corporation

whose mission is to “encourage free and democratic institutions throughout the world through




                                               2
            Case 1:25-cv-00648       Document 1        Filed 03/05/25      Page 3 of 34




private sector initiatives.” 22 U.S.C. § 4411. To further that objective, and as specified in the

Act, the Endowment awards grants to four core institutes that work to strengthen the institutions

of democracy, and to a range of nonprofit organizations around the world committed to

advancing freedom in their own countries. In the NED Act, Congress directed that the

Endowment would be funded by annual congressional appropriations to support its

congressionally sanctioned mission and grantmaking activities. Specifically, Congress directed

that the Endowment “shall” receive annual grants through the Department of State. 22 U.S.C.

§ 4412(a). Every year, Congress appropriates funding for the Endowment and directs that the

full amount of those funds shall be available to the Endowment until spent. It has used the same

mandatory language in every appropriations statute relevant here and in every one in recent

memory. And every year, the Department of State has ensured that those funds have been timely

transferred to the Endowment—until now.

       2.      To ensure the Endowment can fulfill its statutory mandate, Congress appropriates

funds directly to the Endowment through an annual congressional appropriation under Title I of

the Department of State Foreign Operations and Related Programs (“SFOPS”) appropriations

legislation. After Congress appropriates the Endowment’s funds, and OMB apportions them to

the Department of State, the Department of State is required by statute to issue a grant in the full

amount to the Endowment, thereby “obligating” the funds to be paid by the Executive Branch.

       3.      As prescribed by federal regulations, the Endowment does not receive the

appropriation as a single lump sum, but instead is required to withdraw money only on an as-

needed basis. The appropriated funds are held in an account at the Department of Treasury, and

the Endowment usually makes twice weekly withdrawals in order to pay its grantees pursuant to




                                                 3
             Case 1:25-cv-00648        Document 1         Filed 03/05/25       Page 4 of 34




their grant agreements, pay its staff, and cover operating expenses. As a result, the Endowment

does not and cannot by law maintain significant cash reserves to fund its operations.

        4.      For the last month, the Executive Branch has denied the Endowment access to its

congressionally appropriated funds—something that has never occurred before in the

Endowment’s forty-two-year existence. That refusal has taken two forms. First, the Executive

has withheld payment of routine drawdown requests necessary to fund the Endowment’s

operations from the $167 million of funds already appropriated by Congress and obligated by the

Department of State. Second, the Department of State has refused to obligate the balance of the

Endowment’s annual appropriation, totaling approximately $72 million. No Executive Branch

official has provided any explanation for those unprecedented actions. But whatever the

purported reason, the Executive Branch lacks statutory authority or discretion to deny the

Endowment its congressionally appropriated funds in this manner.

        5.      As a result of the Executive’s unlawful impoundment of the funds that Congress

appropriated for the Endowment, the Endowment is experiencing a devastating cash flow crisis

that jeopardizes its ability to fulfill its mission and its very existence, as well as that of its core

institutes and grantees.


                                  JURISDICTION AND VENUE

        6.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1346, and 1361.

        7.      Venue is proper in this district because a substantial part of the acts or omissions

giving rise to the claim occurred in this judicial district. 28 U.S.C. § 1391(e).




                                                    4
             Case 1:25-cv-00648      Document 1       Filed 03/05/25     Page 5 of 34




                                            PARTIES

        8.      Plaintiff the National Endowment for Democracy is a private, nonprofit 501(c)(3)

corporation dedicated to the growth and strengthening of democratic institutions around the

world, organized under the laws of Washington, D.C.

        9.      Defendant the United States of America is sued in its governmental capacity as a

proper party defendant for actions seeking relief under the Administrative Procedure Act

(“APA”), 5 U.S.C. § 702.

        10.     Defendant United States Department of State is a federal agency headquartered in

Washington, D.C., with responsibility for United States foreign relations and foreign policy.

        11.     Defendant Marco Rubio is the United States Secretary of State. He is sued in his

official capacity.

        12.     Defendant United States Office of Management and Budget (“OMB”) is a federal

agency headquartered in Washington, D.C., with responsibility for overseeing the management

of federal financial assistance.

        13.     Defendant Russell Vought is the Director of OMB. He is sued in his official

capacity.

        14.     Defendant United States Department of Treasury is a federal agency

headquartered in Washington, D.C., with responsibility for managing federal finances.

        15.     Defendant Scott Bessent is the United States Secretary of the Treasury. He is

sued in his official capacity.

        16.     Defendant United States Department of Health and Human Services (“HHS”) is a

federal agency headquartered in Washington, D.C., with responsibility for administering the

Payment Management Services system.




                                                5
             Case 1:25-cv-00648      Document 1       Filed 03/05/25     Page 6 of 34




        17.     Defendant Robert F. Kennedy, Jr. is the United States Secretary of HHS. He is

sued in his official capacity.

        18.     Defendant Melissa Bruce is the Director of HHS’s Program Support Center. She

is sued in her official capacity.


                                             FACTS

        A.      The Endowment

        19.     The Endowment is a nonpartisan, nonprofit organization devoted to promoting

democracy around the world. For more than forty years, the Endowment has provided funding

to organizations working to promote democratic governance, human rights, and political

freedoms worldwide in some of the most challenging environments—including authoritarian

regimes and areas in which non-state actors such as drug cartels and terrorist organizations

suppress fundamental political freedoms. The Endowment does not directly undertake any work

in the United States.

        20.     The Endowment traces its origins to President Ronald Reagan’s 1982

Westminster Address, delivered before the British Parliament in the midst of the Cold War.

President Reagan called for a new initiative to “foster the infrastructure of democracy” around

the world and announced that the United States would employ a bipartisan organization to

support the “global campaign for democracy now gathering force.” 1

        21.     President Reagan’s leadership, together with that of the United States Congress,

resulted in the formation of the Endowment as a private nonprofit organization, led by an

independent self-appointing Board of Directors, to be funded by Congress. In 1983 and on an



1
 Adress to Members of the British Parliament, Palace of Westminster, London, England (June 8,
1982), https://www.reaganlibrary.gov/archives/speech/address-members-british-parliament.



                                                 6
           Case 1:25-cv-00648         Document 1       Filed 03/05/25      Page 7 of 34




overwhelming and bipartisan basis, Congress passed the National Endowment for Democracy

Act (the “NED Act”), which formally recognized the establishment of the Endowment as a

private foundation authorized to receive federal funding through congressional appropriation.

See 22 U.S.C. § 4411 et seq.

       22.     In the NED Act, Congress set forth several statutory purposes that the

Endowment is to pursue. The Endowment’s mandate is to “encourage free and democratic

institutions throughout the world through private sector initiatives, including activities which

promote the individual rights and freedoms (including internationally recognized human rights)

which are essential to the functioning of democratic institutions.” 22 U.S.C. § 4411(b). The

Endowment is also devoted to promoting “democratic training programs and democratic

institution-building abroad,” “strengthen[ing] democratic electoral processes abroad,” and

“encourag[ing] the establishment and growth of democratic development in a manner consistent

both with the broad concerns of United States national interests and with the specific

requirements of the democratic groups in other countries which are aided by programs funded by

[the Endowment].” Id.

       23.     The Endowment serves its mission of promoting freedom and democracy

worldwide principally by operating as a grantmaking institution. The Endowment funds four

“core institutes” to fulfill the NED Act’s mandate of promoting exchanges between democratic

groups abroad and private sector initiatives, including “the two major American political parties,

labor, and business.” See 22 U.S.C. § 4412(b)(2). The Endowment’s core institutes are the

National Democratic Institute, the International Republican Institute, the Center for International

Private Enterprise, and the Solidarity Center. The Endowment directs around one third of its

total appropriation to these core institutes, as required by the appropriation. The core institutes




                                                  7
           Case 1:25-cv-00648         Document 1        Filed 03/05/25      Page 8 of 34




ensure that the Endowment’s programs represent the full breadth of American political life, with

the institutes associated with both of the major political parties, as well as labor and business.

       24.     In addition to funding the core institutes, the Endowment funds approximately

1,700 individual projects active in over 100 countries. Through this grant program, the

Endowment discretionarily funds a network of frontline activists seeking to advance freedom in

their own countries. The Endowment’s grantees include organizations devoted to documenting

human rights abuses and ensuring access to a free press, with an emphasis on the world’s most

authoritarian regimes. Some of the Endowment’s grantees must keep their relationship to the

Endowment discreet, given the sensitivity of their work in their home jurisdictions and the

personal risks the work entails.

       25.     The Endowment regularly invests in grantees who work in repressive or conflict-

torn countries to foster peaceful efforts toward democracy. In more open societies, the

Endowment supports citizen groups working to strengthen democratic institutions and processes.

The Endowment’s record speaks for itself: Many of the nations in which the Endowment and its

core institutes have strategically invested over the years ultimately made the transition to

democracy, including Chile, South Africa, Taiwan, the Philippines, Mongolia, Ghana, countries

in Central and Eastern Europe, and others. In that way, the Endowment is engaged in the critical

long-haul work of pursuing a more democratic, stable, and prosperous world—a goal that the

Endowment’s founders and members of both parties have long recognized as furthering United

States economic and security interests.

       26.     The Endowment’s unique structure allows it to function on an extremely cost-

effective basis, ensuring that the vast majority of its appropriated funds go directly to grantees’

democracy-supporting work. Eighty-three percent of the Endowment’s funding goes directly to




                                                  8
           Case 1:25-cv-00648           Document 1     Filed 03/05/25      Page 9 of 34




grantees. Importantly, grantees do not receive those funds upfront. Funding for all grantees is

tied to submission of scheduled progress reports and other deliverables. Even the core institutes

must request payment drawdowns against their cash needs as they go.

       27.     The Endowment’s spending and operations are subject to rigorous financial

controls and reporting requirements. Pursuant to the NED Act, the Endowment conducts annual

audits of its accounts, the results of which it provides to Congress as part of its annual report. 22

U.S.C. § 4413(e), (h). The Endowment’s financial transactions are also subject to government

audit, the reports of which must also be reported to Congress. 22 U.S.C. § 4413(f), (g). And the

Endowment’s bipartisan, experienced Board of Directors provides robust oversight of the

Endowment’s financials, ensuring that its funds are used only for grants and activities consistent

with its statutory mandate. More specifically, the Budget, Audit, and Administration Committee

of the Board of Directors manages the Endowment’s audit process, financial reporting, and

compliance functions.

       28.     The Endowment’s mission of advancing the cause of liberty and democracy

around the world is nonpartisan, and the Endowment is bipartisan by design. The Endowment’s

self-appointed Board of Directors is bipartisan; it includes two members from the House and two

honorary members from the Senate, with a Republican and a Democrat from each chamber. The

Endowment funds both the National Democratic Institute and the International Republican

Institute. As President Reagan explained, “One of the strengths of this organization is that it is

constructed on a bipartisan basis.” 2




2
 Ronald Reagan, Message to the Congress Transmitting the Annual Report of the National
Endowment for Democracy (Feb. 19, 1986), https://www.reaganlibrary.gov/archives/speech/
message-congress-transmitting-annual-report-national-endowment-democracy.



                                                  9
          Case 1:25-cv-00648         Document 1        Filed 03/05/25      Page 10 of 34




        29.     The private, nongovernmental nature of the Endowment’s work is also essential to

its structure and purpose. The Endowment’s mandate is to support private American groups

forging relationships with and supporting private groups abroad in pursuit of democratic goals

around the world.

        30.     In the forty-two years since its founding, leaders from across the political

spectrum have hailed the Endowment’s work. Shortly after its founding, President Reagan

proclaimed that the “establishment of the National Endowment goes right to the heart of

America’s faith in democratic ideals and institutions. It offers hope to people everywhere.”3

        31.     President Jimmy Carter praised the Endowment and core institutes’ work

overseeing the balloting for Indonesia’s first free election in more than 40 years. President

Carter explained that “[t]he creation of the NED in the 1980s reflected a bipartisan belief that the

promotion of freedom is an enduring American interest and that nongovernmental

representatives would best be able to help their counterparts build democracy in other

countries.” 4

        32.     President Bill Clinton has commended the Endowment as “one of our most

effective means for supporting grass-roots trade union, business and citizen groups, which form

the basis for democratic reform.” As President Clinton explained, “[b]y fostering such reforms




3
  President Ronald Reagan’s Remarks at a White House Ceremony Inaugurating the National
Endowment for Democracy (December 16, 1983), https://www.ned.org/president-ronald-
reagans-remarks-at-a-white-house-ceremony-inaugurating-the-national-endowment-for-
democracy/.
4
 Jimmy Carter and Paul Wolfowitz, Don’t Take Democracy for Granted (July 20, 1999),
https://www.cartercenter.org/news/documents/doc1389.html.



                                                 10
              Case 1:25-cv-00648      Document 1      Filed 03/05/25     Page 11 of 34




abroad, we not only project our own values, we also increase our own security and create better

partners for trade and global problem solving.”5

         33.      President George W. Bush praised “the bipartisan spirit” of the Endowment,

describing the Endowment’s work “promoting women’s rights, and training Iraqi journalists, and

teaching the skills of political participation.”6 And President George H.W. Bush before him

recognized that the Endowment’s “work is giving expression to the oldest and noblest tradition

of this country—the devotion to freedom for all humanity.” 7

         34.      In 2017, Secretary of State Marco Rubio, formerly a board member of the

Endowment-funded International Republican Institute, celebrated the Endowment’s grantees,

applauding their “courage” and “drive to combat corruption, press for transparency and

accountability and advance the cause of freedom and democracy around the world.” Secretary

Rubio thanked the Endowment for its work to “advance the cause of freedom and carry out the

vision President Reagan articulated those many years ago.” 8

         B.       The Endowment Is Funded By Direct Congressional Appropriation

         35.      From its inception, the Endowment was structured to ensure continuity of funding

and independence. Unlike other nongovernmental organizations, which receive funds at the

discretion of federal agencies, the Endowment is funded through annual appropriations directly

from Congress.


5
    140 Cong. Rec. 364 (Jan. 27, 1994).
6
 Remarks by President George W. Bush at the 20th Anniversary of the National Endowment for
Democracy, U.S. Chamber of Commerce, Washington, D.C., https://www.ned.org/remarks-by-
president-george-w-bush-at-the-20th-anniversary.
7
 Remarks by the President to Polish and Chilean Human Rights Leaders, May 3, 1989, 135
Cong. Rec. S6365-02, S6366, 1989 WL 178259.
8
 Sen. Marco Rubio (R-FL) on NED’s 2017 Democracy Awardees, National Endowment for
Democracy (posted June 7, 2017), https://www.youtube.com/watch?v=kPihC7UQ9jk&t=15s.



                                                 11
          Case 1:25-cv-00648        Document 1       Filed 03/05/25      Page 12 of 34




       36.     In the NED Act, Congress directed the Department of State to convey the

Endowment’s annual appropriation to it. The NED Act provides that the Department of State

“shall make an annual grant to the Endowment to enable the Endowment to carry out its

purposes as specified in section 4411(b) of this title.” 22 U.S.C. § 4412(a) (emphasis added). 9

Section 4412 thus leaves the Department of State with no discretion: It must make an annual

grant to the Endowment each year.

       37.     To enable that annual grant, Congress appropriates funds each year for the

Endowment’s use. It has done so every year since the Endowment’s founding. For fiscal year

2024, for instance, Congress provided in the Further Consolidated Appropriations Act: “For

grants made by the Department of State to the National Endowment for Democracy, as

authorized by the National Endowment for Democracy Act (22 U.S.C. 4412), $315,000,000, to

remain available until expended, of which $210,316,000 shall be allocated in the traditional and

customary manner, including for the core institutes, and $104,684,000 shall be for democracy

programs.” Pub. L. No. 118-47, 138 Stat. 460, 737 (2024). Although the amount of the

appropriation has varied from year to year, the basic statutory command has not. Congress has

consistently directed that the full appropriated amount “shall be allocated” to the Endowment: a

portion is earmarked for the Endowment’s core institutes from the funds that “shall be allocated

in the traditional and customary manner,” and another portion “shall be for” the Endowment’s

democracy programs. In addition, the appropriated amount is to “remain available” to the




9
 As adopted, the NED Act identified the United States Information Agency, which was
consolidated with the Department of State in 1999 pursuant to the Foreign Affairs Reform and
Restructuring Act of 1998. See Federal Register, United States Information Agency,
https://www.federalregister.gov/agencies/united-states-information-agency.



                                                12
             Case 1:25-cv-00648       Document 1        Filed 03/05/25     Page 13 of 34




Endowment “until expended.” The Department of State thus has no discretion to make less than

the full appropriated amount available to the Endowment.

           38.   The Endowment’s appropriation appears in Title I of the Department of State

Foreign Operations and Related Programs (“SFOPS”) appropriations legislation. Title I of the

appropriations legislation is directed to Department of State operations and diplomatic programs,

as well as certain “foreign affairs-focused nongovernmental organizations,” including the

Endowment.10 By contrast, appropriations for United States foreign assistance, including

appropriations for discretionary foreign-assistance grants, appear in other titles of the

appropriations legislation, including Titles III and IV. 11

           39.   The Title I appropriations described above make up approximately 95% of the

Endowment’s funding. The Endowment also receives certain foreign-assistance funding under

Title III, comprising approximately 5% of its funding. That latter amount is not at issue here.

           40.   Once the congressional appropriation is enacted and signed into law, OMB is

responsible for apportioning the Endowment’s appropriated funds to the Department of State, to

be granted to the Endowment. See 31 U.S.C. § 1513(b). 12

           41.   The Department of State has the administrative obligation to transfer the funding

to the Endowment. The Department of State’s Bureau for Democracy, Human Rights, and Labor

(“DRL”) serves as the passthrough bureau that administers the Endowment’s annual


10
  See Cory Gill & Emily M. McCabe, Cong. Res. Serv., R40482, Department of State, Foreign
Operations, and Related Programs Appropriations: A Guide to Component Accounts 1, 8
(updated June 18, 2024), https://crsreports.congress.gov/product/pdf/R/R40482.
11
     Id. at 1.
12
  The apportionment obligation is assigned by statute to the President, who has delegated the
authority to the Director of OMB. See Notice; Delegation of Apportionment Authority, 90 Fed.
Reg. 9737 (Feb. 18, 2025), https://www.federalregister.gov/documents/2025/02/18/2025-
02720/notice-delegation-of-apportionment-authority.



                                                  13
          Case 1:25-cv-00648        Document 1       Filed 03/05/25      Page 14 of 34




appropriation award together with the Office of Acquisitions Management, located within the

Department of State’s Bureau for Administration, which serves as DRL’s grants office.

       42.     Pursuant to the NED Act, the Department of State (acting through DRL and the

Office of Acquisitions Management) issues the award to the Endowment for the appropriated

amount, thereby “obligating” the funds to be paid to the Endowment by the Executive Branch.

As required by the NED Act, the Department of State uses a grant agreement to structure the

transfer. The NED Act sets out the terms for this process:

       Such grants shall be made pursuant to a grant agreement between the Director and the
       Endowment which requires that grant funds will only be used for activities which the Board
       of Directors of the Endowment determines are consistent with the purposes described in
       section 4411(b) of this title, that the Endowment will allocate funds in accordance with
       subsection (e) of this section, and that the Endowment will otherwise comply with the
       requirements of this subchapter. The grant agreement may not require the Endowment
       to comply with requirements other than those specified in this subchapter.

22 U.S.C. § 4412(a) (emphases added).

Thus, the Department of State has no statutory authority to impose additional conditions on the

Endowment’s use of the appropriated funds beyond those already set forth by Congress in the

NED Act.

       43.     After the Department of State obligates the appropriated funds to the Endowment,

certain other agencies are involved in the mechanical process of transferring the funds to the

Endowment.

       44.     The annual appropriation award obligated to the Endowment is set aside for the

Endowment in an account held at the Department of Treasury. The Endowment cannot obtain

the balance of its appropriated funds all at once. Federal regulations provide that the Endowment

may access its appropriated funds only by regularly requesting drawdowns from its Treasury

account on an as-needed basis as it incurs expenses. See 2 C.F.R. §§ 200.305, 600.101(a)




                                                14
          Case 1:25-cv-00648        Document 1       Filed 03/05/25      Page 15 of 34




(“payment methods must minimize the time elapsing between the transfer of funds from the

Federal Agency . . . and the disbursement of funds by the recipient”). Those expenses include

the Endowment’s operational spending, the core institutes’ appropriated spending, and payments

to discretionary grantees.

       45.     As a result of this payment structure, the Endowment effectively operates

payment-to-payment and cannot maintain a significant cash reserve. To ensure that it can fund

its own operations, as well as the operations of the core institutes and grantees, the Endowment

typically submits two drawdown requests every week.

       46.     Though it is the Department of State that administers the Endowment’s

appropriated funds, and the Department of Treasury that holds its funds and disburses payments,

the Endowment’s drawdown requests are processed through a system called Payment

Management Services (“PMS”), administered by HHS’s Program Support Center. The PMS

portal is a shared system for processing grant payments used by various agencies across the

federal government.

       47.     Typically, DRL approves the Endowment’s drawdown requests through the PMS

portal in less than 48 hours. After that, the Endowment’s appropriated funds are transferred from

its account at the Department of Treasury to the Endowment’s bank account, usually within 24

hours. No statute gives any agency involved in ensuring that the Endowment receives its

congressionally appropriated and Department of State-obligated funding any discretion to

withhold timely delivery of that funding or to second guess the decision to award it.

       C.      The Executive Branch Has Denied the Endowment Access to Obligated,
               Congressionally Appropriated Funds

       48.     For over a month, the Endowment has been locked out of its approximately $167

million cash balance of obligated, appropriated funds held in its Treasury account. In the first




                                                15
          Case 1:25-cv-00648        Document 1       Filed 03/05/25      Page 16 of 34




fiscal year 2025 Continuing Resolution (Continuing Appropriations and Extensions Act, 2025

(Sept. 24, 2024)), Congress appropriated additional funds to the Endowment based on its fiscal

year 2024 appropriation, amounting to $69,898,500. Around January 15, 2025, the Department

of State obligated the $69,898,500 in appropriated funds to the Endowment for payment by the

Executive Branch. The $167 million cash balance in the Endowment’s Treasury account

includes that amount, as well as other available, already-obligated funds from prior years’ annual

appropriation awards. These funds are referred to here as “tranche 1” funds. Ordinarily, the full

$167 million would be available to the Endowment to draw down at its discretion, consistent

with 2 C.F.R. §§ 200.305, 600.101(a), to pay its operational expenses and fulfill its payment

obligations to grantees.

       49.     On January 21, 2025, the Endowment requested from PMS a drawdown totaling

$36,663,100 from its appropriated funds to pay for its operational expenses and grants. DRL

ultimately approved that request, but only after receiving confirmation that the funds requested

were congressionally appropriated Title I funds, and that they were therefore not subject to a

January 20, 2025 Executive Order titled “Reevaluating and Realigning United States Foreign

Aid.” Exec. Order No. 14169, 90 F.R. 8619 (2025). That Executive Order paused certain

foreign assistance—but, as the Department of State itself has explained, only those funds

appropriated under Title III and Title IV of SFOPS and to “International Organizations and

Programs” under Title V. The Endowment’s Title I funds thus were not (and could not be)

subject to the Executive Order. After the Endowment explained to DRL staff that its payment

request concerned congressionally appropriated Title I funds not subject to the Executive Order,

DRL approved the Endowment’s request.




                                                16
          Case 1:25-cv-00648        Document 1       Filed 03/05/25     Page 17 of 34




       50.     January 22, 2025 was the last time that the Endowment was able to withdraw its

appropriated, obligated funds. Until the Executive Branch began refusing to disburse the

Endowment’s funds, the Endowment’s activities were continuing in the ordinary course.

       51.     On January 28 and January 30, 2025 the Endowment submitted drawdown

requests totaling approximately $97 million of its obligated, congressionally appropriated funds.

The Endowment made the request to cover grantee expense reimbursements and advance

payments, the Endowment’s own operational expenses, and payments for new core institute

projects and discretionary grantees that recently had been approved by the Endowment’s Board

at its regular January meeting.

       52.     With its PMS requests still pending on January 31, 2025, the Endowment reached

out to DRL for a status update. In the Endowment’s experience, a multi-day delay is highly

unusual. In the ordinary course, if the Endowment requests funds before 1:00 p.m., it receives

them the next business day; requests made after 1:00 p.m. are received on the second business

day. That promptness is necessitated by federal regulations that require payment methods to

“minimize” the time between the transfer of funds from the government and the disbursement by

the recipient. 2 C.F.R. §§ 200.305(b), 600.101(a).

       53.     DRL staff responded that they were “working on it,” and by 3:00 p.m. that

afternoon, the Endowment’s finance team saw that the requests were “approved” in the PMS

system.

       54.     Since January 31, however, those “approved” payment requests have been marked

in PMS with a status that the Endowment has never before seen: “in transit.”

       55.     A month later, the funds still have not been released to the Endowment’s bank

account and remain inaccessible.




                                               17
          Case 1:25-cv-00648         Document 1       Filed 03/05/25       Page 18 of 34




       56.     On February 6, 2025, the White House issued a memorandum to the heads of

executive departments and agencies directing them to “review all funding that agencies provide

to [nongovernmental organizations (“NGOs”)] . . . on the basis of applicable authorizing statutes,

regulations, and terms.” 13 The Department of State has not asserted that it is relying on that

memorandum as justification for refusing to make available the Endowment’s appropriated Title

I funds. The memorandum does not purport to freeze or discontinue funds pending executive

review, and it therefore does not and cannot provide authority to deny the Endowment its

funding. In all events, an Executive Branch memorandum cannot provide authority to freeze or

discontinue the Endowment’s congressionally appropriated funding.

       57.     On February 11, the Endowment wrote to Treasury Secretary Scott Bessent

requesting the release of its appropriated funds, payment of which the Department of State had

approved on January 31. The letter reiterated that the funds in question are Title I funds and,

therefore, not subject to the January 20 Executive Order on foreign aid.

       58.     The next day, the Endowment’s grant officer representative at DRL emailed to

ask whether the Endowment had any outstanding payment requests in PMS. She requested

specific information, including screenshots, for each PMS request and advised the Endowment

that “submissions are subject to further review within the Department of State that may require

additional processing for approval.”

       59.     The Endowment promptly responded with the requested information and to

indicate that it was awaiting $97,581,876 in funding from PMS. The Endowment included in its




13
   Memorandum for the Heads of Executive Departments and Agencies (Feb. 6, 2025), available
at, https://www.whitehouse.gov/presidential-actions/2025/02/memorandum-for-the-heads-of-
executive-departments-and-agencies/. The memorandum currently is not available in either the
Weekly or Daily Compilation of Presidential Documents.



                                                 18
         Case 1:25-cv-00648         Document 1        Filed 03/05/25    Page 19 of 34




response a screenshot of the PMS system, which showed three pending requests, all marked as

“approved.”

       60.     More than a week later, on February 20, DRL invited the Endowment to submit

an “Obligation or Disbursement under Waiver of Foreign Assistance Pause” form for its pending

PMS requests, on the condition that the requests were for costs incurred prior to January 24,

2025. As noted, the administration’s January 24, 2025 foreign aid freeze, in place pursuant to

the January 20 Executive Order described above, does not apply to the Endowment’s

appropriated Title I funds. But regardless, the Executive Branch lacks authority under the NED

Act and annual appropriations legislation to “freeze” or otherwise withhold the Endowment’s

obligated, congressionally appropriated funds.

       61.     On February 26, 2025, OMB issued a memorandum calling for data on foreign

assistance funding. See Office of Mgmt. & Budget, Exec. Office of the President, OMB

Memorandum M-25-08, Agency Foreign Assistance Review (FAR) Data Call 1. The

memorandum directs that agencies by March 17, 2025 “review their foreign assistance

programs” and “make a recommendation on whether to continue, modify, or cease each foreign

assistance program.” Id. at 2. Based on that data, the “responsible Department and Agency

heads, in consultation with the Director of OMB,” and “with [the] concurrence of the Secretary

of State,” “will make recommendations” “to the President for final determinations.” Id. at 2–3.

The memorandum defines foreign assistance as including “any activity funded under Title 22 of

the United States Code.” Id. The Department of State has not asserted that it is relying on this

memorandum as justification for withholding the Endowment’s appropriated Title I funds. The

memorandum does not purport to freeze or discontinue funds pending executive review, and it

therefore does not and cannot provide authority to deny the Endowment its funding. In all




                                                 19
          Case 1:25-cv-00648          Document 1      Filed 03/05/25      Page 20 of 34




events, an Executive Branch memorandum cannot provide authority to freeze or discontinue the

Endowment’s congressionally appropriated funding.

       62.     Defendants’ withholding of the Endowment’s congressionally appropriated,

obligated funds is unprecedented.

       63.     Defendants have thus unreasonably and unlawfully impounded the Endowment’s

congressionally appropriated funds.

       D.      The Executive Branch Has Refused to Obligate to the Endowment Its Annual
               Appropriation

       64.     On top of denying payment on the Endowment’s approved drawdown requests for

already-obligated funding, the Department of State has failed to obligate to the Endowment its

second fiscal year 2025 Continuing Resolution obligation of approximately $72 million. See

Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 118-83, § 101, 138 Stat. 1524,

1524–1525 (2024); American Relief Act, Pub. L. No. 118-158, 138 Stat. 1722 (2024). 14

       65.     On January 16, 2025, DRL informed the Endowment that it had “received the

second tranche of NED’s FY 2025 funding in the amount of $72,481,500.” DRL, through the

Office of Acquisitions Management, accordingly prepared to obligate the Endowment its

appropriated funds through an amendment to the current fiscal year 2025 annual appropriation

grant agreement.

       66.     The Endowment has been told by DRL that the amendment obligating the

Endowment’s appropriated funds is complete and ready to be issued.

       67.     Yet for over a month State has refused to obligate, as required by statute, the

second tranche of the Endowment’s fiscal year 2025 Title I annual appropriation funding.


14
   These funds can be referred to as “tranche 2” funds, and, like tranche 1, they are entirely Title
I funds.



                                                 20
             Case 1:25-cv-00648       Document 1        Filed 03/05/25   Page 21 of 34




On February 20, 2025, an Office of Acquisitions Management grants officer told the Endowment

that he was waiting to “get guidance regarding NED Core Project funding and approvals” and

would alert the Endowment as soon as he got a response. He did not specify from whom he was

awaiting guidance or what legal authority would allow the Department of State to do anything

other than obligate the funds that Congress has appropriated to the Endowment. The

Endowment responded to again confirm that its core annual appropriation is Title I funding.

        68.      The Executive Branch’s unilateral refusal to obligate the Endowment’s

appropriated funds is unprecedented.

        69.      In addition to the January 20 Executive Order discussed above, the Executive

Branch has issued additional executive orders and memoranda purporting to freeze various types

of federal grants and spending. The Executive Branch has not suggested that any of those

memoranda or orders provide authority to impound the Endowment’s funding. For the reasons

explained above, the January 20 Executive Order does not apply to the Endowment’s funds.

And whatever the purported reason behind Defendants’ actions with respect to the Endowment’s

congressionally appropriated funds, the statutory scheme is clear: The Executive Branch lacks

discretion to override the Endowment’s statutorily mandated appropriations funds.

        E.       Harm to the Endowment

        70.      As a result of the Executive Branch’s impoundment of the Endowment’s

appropriated funds, the Endowment is experiencing an unprecedented cash flow crisis that

jeopardizes its very existence and ability to fulfill its mission.

        71.      As of March 1, the Endowment furloughed 62% of its staff. The Endowment has

also given notice that an additional 13% of its staff will be furloughed by March 15. In total,

75% of the Endowment’s staff will be furloughed—and the Endowment expects to take

additional staffing actions, including layoffs. Already, 100% of the Endowment’s staff has been



                                                  21
          Case 1:25-cv-00648           Document 1      Filed 03/05/25      Page 22 of 34




affected by salary reductions or related personnel action, like part-time status. Beyond the

immediate financial strain, these cuts have far-reaching consequences—undermining the

Endowment’s ability to safeguard sensitive information, support democracy advocates, and

maintain grantee relationships in closed societies.

        72.     Given the nature of the Endowment’s work advancing freedom, it is a frequent

target of cyber threats from hostile foreign adversaries. With its staff furloughed or laid off, the

Endowment is losing essential personnel responsible for protecting grantee data, preventing

cyberattacks, and safeguarding the Endowment’s digital infrastructure. Any breach risks

exposing democratic activists and civil society organizations in authoritarian states, putting their

security, and potentially their lives, at risk.

        73.     The Endowment is also losing skills in critical areas, including language, regional

expertise, and technical fields. These capabilities could take years to rebuild. The Endowment

has spent years building a team that collectively speaks more than 45 languages, including Farsi,

Mandarin, Spanish, Arabic, Urdu, Khmer, Lingala, and Swahili, which is essential to the

Endowment’s work around the globe, including in Iran, China, Venezuela, and Pakistan. Losing

this expertise means losing access, understanding, and key relationships that have been

developed over decades.

        74.     Without the ability to draw down its appropriated funds, the Endowment does not

have cash on hand to fund the core institutes or discretionary grantees. For the first time in its

decades-long history, the Endowment has failed to meet its financial obligations to the core

institutes and grantees and, as a result, has been forced to suspend nearly 1,300 grant projects

worldwide. The suspension of all grants, if it continues, will have a profound reputational




                                                  22
          Case 1:25-cv-00648         Document 1        Filed 03/05/25      Page 23 of 34




impact on the Endowment, threatening the Endowment’s future ability to cultivate partners and

relationships.

       75.       Because the Endowment does not administer any programs directly, its grantees

are fundamental to its ability to effectively carry out its mandate, as provided by Congress.

Harm to grantees, whether through staff layoffs or disruption of their programs, directly

compromises the Endowment’s ability to fulfill its mandate under federal law.

       76.       Grantees have already faced considerable hardship from the funding freeze,

including: an inability to maintain broadcast and publication schedules, undermining their ability

to retain audiences; an inability to meet tax, labor, and other local obligations; and an inability to

implement time-sensitive projects like election monitoring and get-out-the-vote campaigns. The

freezing of the Endowment’s funds poses special risk to partners operating in highly

authoritarian contexts, as the sudden interruption in support may expose their operations and

staff as Endowment grantees, thereby inviting legal or other reprisal from authoritarian

governments that oppose their work.

       77.       The funding freeze—if it is allowed to continue—harms the Endowment not just

now, but far into the future as well. Already, the Endowment has been forced to suspend its

regularly scheduled grantmaking cycles for May and September 2025. The freeze also has and

will continue to harm the Endowment’s reputation. The Endowment engages partners based on

trust and mutual respect, and each partner enters into a grant agreement with the Endowment

with the expectation that the foundation will honor its financial and operational obligations. The

Endowment’s reputation is critical to its ability to engage productively with partners worldwide

and fulfill its mission. And, given the harms experienced by grantees so far, many may simply




                                                  23
          Case 1:25-cv-00648          Document 1        Filed 03/05/25      Page 24 of 34




not be around to continue their important work, even if the Endowment’s funding were to

eventually resume at a later date.


                                      CLAIMS FOR RELIEF

                                           COUNT ONE

                                  APA, 5 U.S.C. § 706(2)(A)–(C)

                                     (Against All Defendants)

       78.     The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

       79.     The APA provides that a court “shall” “hold unlawful and set aside agency

action” found to be “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law[,]” “contrary to constitutional right, power, privilege, or immunity[,]” or “in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right[.]” 5 U.S.C.

§ 706(2)(A)–(C).

       80.     Defendants’ impoundment of the Endowment’s congressionally appropriated

funding is final agency action reviewable under 5 U.S.C. § 704. The denial of funding is

reviewable “final agency action.” 5 U.S.C. § 704. “Agency action” includes an agency’s

“denial” of “recognition” to a “claim” or “right”; the “denial” of a “grant of money”; and the

“failure to act” or “withholding” with respect to claims, rights, and grants of money. 5 U.S.C.

§ 551(10), (11), (13). Defendants’ actions are “final” because they are the “functional

equivalent” of an express denial of payment—the consequences of Defendants’ impoundment of

the Endowment’s funds are identical to the consequences of an express statement of denial. See

Lewis v. U.S. Parole Comm’n, 743 F. Supp. 3d 181, 192 (D.D.C. 2024).




                                                  24
          Case 1:25-cv-00648          Document 1       Filed 03/05/25     Page 25 of 34




       81.       Defendants’ actions are contrary to law and in excess of statutory authority

because the statutory scheme creates a mandatory, non-discretionary duty for Defendants to

make available, obligate, and disburse the Endowment’s congressionally appropriated funds. 22

U.S.C. § 4412(a); Further Consolidated Appropriations Act, Pub. L. No. 118-47 (2024); 31

U.S.C. § 3325.

       82.       Defendants’ actions are also contrary to the United States Constitution because

they violate the Separation of Powers, as well as the Take Care Clause, the Appropriations

Clause, the Spending Clause, and the Presentment Clause of the United States Constitution.

       83.       Even if characterized as a suspension pending review pursuant to the Executive’s

various ongoing spending reviews, Defendants’ actions have had the effect of denying the

Endowment access to its congressionally appropriated funds. That denial is arbitrary and

capricious and contrary to law because Defendants have a mandatory, non-discretionary statutory

duty to make available, obligate, and disburse the Endowment’s congressionally appropriated

funds; because Defendants’ actions lack any lawful basis; because Defendants have refused to

provide any explanation for their actions; and because Defendants’ actions threaten the

Endowment’s continued existence in light of regulations preventing it from maintaining a

significant cash reserve, in direct contravention of Congress’s expressed intention that the

Endowment shall use its appropriated funds to fulfill its statutory mandate.

       84.       This Court should hold unlawful and set aside Defendants’ unlawful

impoundment of the Endowment’s appropriated funds.




                                                 25
          Case 1:25-cv-00648         Document 1        Filed 03/05/25    Page 26 of 34




                                            COUNT TWO

                                         APA, 5 U.S.C. § 706(1)

                                     (Against All Defendants)

       85.     The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

       86.     The APA provides that a reviewing court “shall” “compel agency action

unlawfully withheld or unreasonably delayed[.]” 5 U.S.C. § 706(1).

       87.     The Department of the Treasury has a non-discretionary duty to disburse the

funds in its charge upon receipt of a properly executed voucher. 31 U.S.C. § 3325. When HHS

exercises delegated authority to disburse federal funds, 31 U.S.C. §§ 3321(a), 3322, it has the

same non-discretionary duty.

       88.     Neither Treasury nor HHS has complied with that mandatory duty as it relates to

the Endowment’s obligated funds located in its Treasury account and requested through the PMS

system (that is, the tranche 1 funds).

       89.     The Department of State has a non-discretionary duty to make an annual grant to

the Endowment “to enable the Endowment to carry out its purposes.” 22 U.S.C. § 4412(a); see

Further Consolidated Appropriations Act, Pub. L. No. 118-47 (2024).

       90.     The Department of State has not complied with that mandatory duty as it relates

to the Endowment’s obligated funds located in its Treasury account and requested through the

PMS system. Neither has the Department of State complied with that mandatory duty as it

relates to the Endowment’s appropriated funds, which the Department of State received but has

not obligated despite preparing a grant-agreement amendment that is ready to go.




                                                  26
          Case 1:25-cv-00648         Document 1          Filed 03/05/25   Page 27 of 34




       91.     Defendants’ actions are also contrary to the United States Constitution because

they violate the Separation of Powers, as well as the Take Care Clause, the Appropriations

Clause, the Spending Clause, and the Presentment Clause of the United States Constitution.

       92.     The Court should thus compel Defendants to disburse and otherwise make

accessible the Endowment’s obligated funds and to obligate the remainder of the Endowment’s

annual appropriation.


                                         COUNT THREE

              Mandamus Act, 28 U.S.C. § 1361; All Writs Act, 28 U.S.C. § 1651

  (Against Defendants Department of State, OMB, Department of Treasury, HHS, Marco
    Rubio, Russell Vought, Scott Bessent, Robert F. Kennedy, Jr., and Melissa Bruce)

       93.     The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

       94.     The Mandamus Act, 28 U.S.C. § 1361, vests this Court with original jurisdiction

over “any action in the nature of mandamus to compel an officer or employee of the United

States or any agency thereof to perform a duty owed” to the Endowment.

       95.     The All Writs Act, 28 U.S.C. § 1651, authorizes this Court to issue all writs

“necessary or appropriate” in aid of its jurisdiction.

       96.     The Department of State has a non-discretionary duty to make an annual grant to

the Endowment; and the Department of the Treasury and HHS have a non-discretionary duty to

disburse federal funds upon receipt of a properly executed voucher. See 22 U.S.C. § 4412(a);

Further Consolidated Appropriations Act, Pub. L. No. 118-47 (2024); 31 U.S.C. § 3325.

       97.     Defendants’ actions are also contrary to the United States Constitution because

they violate the Separation of Powers, as well as the Take Care Clause, the Appropriations

Clause, the Spending Clause, and the Presentment Clause of the United States Constitution.




                                                  27
            Case 1:25-cv-00648        Document 1        Filed 03/05/25       Page 28 of 34




          98.    It is necessary and appropriate for this Court to issue a writ of mandamus pursuant

to 28 U.S.C. §§ 1361 and 1651 and under this Court’s equitable authority to compel Defendants

to act.


                                           COUNT FOUR

                         Presentment Clause, U.S. Const. art. I, § 7, cl. 2

(Against Defendants Marco Rubio, Russell Vought, Scott Bessent, Robert F. Kennedy, Jr.,
                                 and Melissa Bruce)

          99.    The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

          100.   This Court has inherent equitable power to enjoin executive conduct that violates

the Constitution. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2

(2010).

          101.   The Presentment Clause provides, in relevant part: “Every Bill which shall have

passed the House of Representatives and the Senate, shall, before it become a Law, be presented

to the President of the United States; If he approve he shall sign it, but if not he shall return it[.]”

U.S. Const. art. I, § 7, cl. 2. Under the Presentment Clause, the President lacks authority to

modify or amend duly enacted Legislation—the President may only “approve all the parts of a

Bill, or reject it in toto.” Clinton v. City of New York, 524 U.S. 417, 439–40 (1998) (citation

omitted). The President cannot delegate powers to other executive branch officials that violate

the Constitution.

          102.   Both the NED Act and the congressional appropriations laws mandating that

funds be provided to the Endowment, including for fiscal years 2024 and 2025, are duly enacted

legislation that leave no room for executive discretion.




                                                   28
            Case 1:25-cv-00648       Document 1       Filed 03/05/25     Page 29 of 34




          103.   Defendants’ unlawful impoundment of the Endowment’s congressionally

appropriated funds therefore amounts to an attempt to amend, modify, or partially veto duly

enacted legislation in violation of the Presentment Clause.


                                          COUNT FIVE

                       Appropriations Clause, U.S. Const. art. I, § 9, cl. 7

(Against Defendants Marco Rubio, Russell Vought, Scott Bessent, Robert F. Kennedy, Jr.,
                                 and Melissa Bruce)

          104.   The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

          105.   This Court has inherent equitable power to enjoin executive conduct that violates

the Constitution. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2

(2010).

          106.   The Appropriations Clause of the Constitution provides: “No Money shall be

drawn from the Treasury, but in Consequence of Appropriations made by Law[.]” U.S. Const.

art. I, § 9, cl. 7. The Clause protects Congress’s “exclusive power over the federal purse.” U.S.

Dep’t of Navy v. Fed. Lab. Rels. Auth., 665 F.3d 1339, 1346 (D.C. Cir. 2012) (quoting Rochester

Pure Waters Dist. v. EPA, 960 F.2d 180, 185 (D.C. Cir. 1992)). The Executive Branch does not

have constitutional authority to override or disregard Congress’s appropriations. In re Aiken

Cnty., 725 F.3d 255, 260–61 (D.C. Cir. 2013).

          107.   Defendants’ unlawful impoundment of the Endowment’s congressionally-

appropriated funds infringes Congress’s exclusive power over the federal purse. That exclusive

power is conferred and protected in part by the Appropriations Clause, and the Executive has no

constitutional authority to countermand it.




                                                 29
            Case 1:25-cv-00648       Document 1       Filed 03/05/25     Page 30 of 34




                                           COUNT SIX

                           Spending Clause, U.S. Const. art. I, § 8, cl. 1

(Against Defendants Marco Rubio, Russell Vought, Scott Bessent, Robert F. Kennedy, Jr.,
                                 and Melissa Bruce)

          108.   The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

          109.   This Court has inherent equitable power to enjoin executive conduct that violates

the Constitution. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2

(2010).

          110.   The Spending Clause of the Constitution provides: “The Congress shall have

Power To lay and collect Taxes, Duties, Imposts and Excises, to pay the Debts and provide for

the common Defence and general Welfare of the United States; but all Duties, Imposts and

Excises shall be uniform throughout the United States.” U.S. Const. art. I, § 8, cl. 1. The

Spending Clause vests the power of the purse, including the power to attach conditions to the

expenditure of federal funds, exclusively with Congress.

          111.   Defendants’ unlawful impoundment of the Endowment’s congressionally-

appropriated funds infringes Congress’s exclusive power over the federal purse. That exclusive

power is conferred and protected in part by the Spending Clause, and the Executive has no

constitutional authority to countermand it.




                                                 30
            Case 1:25-cv-00648       Document 1       Filed 03/05/25      Page 31 of 34




                                         COUNT SEVEN

                            Take Care Clause, U.S. Const. art. II, § 3

(Against Defendants Marco Rubio, Russell Vought, Scott Bessent, Robert F. Kennedy, Jr.,
                                 and Melissa Bruce)

          112.   The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

          113.   This Court has inherent equitable power to enjoin executive conduct that violates

the Constitution. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2

(2010).

          114.   Under the Constitution, the executive power vested in the President and, by

extension, all subordinate officers to whom he may delegate executive functions, includes the

duty to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

          115.   The Take Care Clause forbids the Executive Branch from refusing to faithfully

execute the laws of the United States.

          116.   Defendants’ unlawful impoundment of the Endowment’s congressionally

appropriated funds violates the Take Care Clause.


                                         COUNT EIGHT

                              Violation of the Separation of Powers

(Against Defendants Marco Rubio, Russell Vought, Scott Bessent, Robert F. Kennedy, Jr.,
                                 and Melissa Bruce)

          117.   The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.




                                                 31
            Case 1:25-cv-00648          Document 1         Filed 03/05/25        Page 32 of 34




          118.   This Court has inherent equitable power to enjoin executive conduct that violates

the Constitution. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2

(2010).

          119.   Defendants’ unlawful impoundment of the Endowment’s congressionally

appropriated funds exceeds the executive branch’s constitutional authority and impermissibly

usurps the legislative power, in violation of the Separation of Powers. See U.S. Const. art. II,

§ 3; U.S. Const. art. I, § 9, cl. 7; U.S. Const. art. I, § 8, cl. 1; U.S. Const. art. I, § 7, cl. 2.


                                              COUNT NINE

                                                Ultra Vires

                                        (Against All Defendants)

          120.   The Endowment realleges and incorporates by reference all prior and subsequent

paragraphs.

          121.   This Court has inherent equitable power to enjoin ultra vires executive conduct.

See Fed. Express Corp. v. U.S. Dep’t of Com., 39 F.4th 756, 743 (D.C. Cir. 2022).

          122.   No statute, constitutional provision, or other source of law authorizes Defendants

to impound the Endowment’s congressionally appropriated funds. To the contrary, the statutory

scheme creates a mandatory duty for Defendants to grant and disburse the Endowment’s

congressionally appropriated funds. 22 U.S.C. § 4412(a); Further Consolidated Appropriations

Act, Pub. L. No. 118-47 (2024); 31 U.S.C. § 3325.

          123.   Defendants’ unlawful impoundment of the Endowment’s congressionally

appropriated funds is ultra vires.


                                        PRAYER FOR RELIEF

          Wherefore, the Endowment requests judgment in its favor against Defendants as follows:




                                                     32
            Case 1:25-cv-00648       Document 1        Filed 03/05/25      Page 33 of 34




       A.       Order Defendants to cease (1) their unlawful refusal to disburse and otherwise

make accessible the Endowment’s obligated funds and (2) their unlawful refusal to obligate the

remainder of the Endowment’s annual appropriation;

       B.       Declare unlawful and set aside the Executive Branch’s impoundment of the

Endowment’s congressionally appropriated funds as arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law under 5 U.S.C. § 706(2)(A), contrary to constitutional

right, power, privilege, or immunity under 5 U.S.C. § 706(2)(B), and in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right under 5 U.S.C. § 706(2)(C);

       C.       Issue a temporary restraining order and preliminary injunction barring Defendants

from impounding the Endowment’s congressionally appropriated funds;

       D.       Order Defendants to file a status report with the Court within 24 hours of entry of

a temporary restraining order, and at regular intervals thereafter, confirming the regular

disbursement and obligation of the Endowment’s appropriated funds and reporting all steps that

Defendants have taken to comply with the Court’s temporary restraining order;

       E.       Issue a permanent injunction barring Defendants from impounding the

Endowment’s congressionally appropriated funds;

       F.       Award Plaintiffs reasonable attorneys’ fees and costs; and

       G.       Grant such other relief as the Court deems necessary, just, and proper.




                                                 33
        Case 1:25-cv-00648   Document 1    Filed 03/05/25     Page 34 of 34




Dated: March 5, 2025               Respectfully submitted,


                                    /s/ Donald B. Verrilli, Jr.
                                   Donald B. Verrilli, Jr. (D.C. Bar No. 420434)
                                   Ginger D. Anders (D.C. Bar No. 494471)
                                   Jeremy S. Kreisberg (D.C. Bar No. 1048346)
                                   Helen E. White (D.C. Bar No. 1741368)*
                                   Esthena L. Barlow (D.C. Bar No. 90000252)*
                                   MUNGER, TOLLES & OLSON LLP
                                   601 Massachusetts Avenue NW, Suite 500E
                                   Washington, D.C. 20001
                                   (202) 220-1100
                                   Donald.Verrilli@mto.com
                                   Ginger.Anders@mto.com
                                   Jeremy.Kreisberg@mto.com
                                   Helen.White@mto.com
                                   Esthena.Barlow@mto.com

                                   Gabriel M. Bronshteyn (pro hac vice forthcoming)
                                   MUNGER, TOLLES & OLSON LLP
                                   560 Mission Street, Twenty-Seventh Floor
                                   San Francisco, California 94105
                                   (415) 512-4000
                                   Gabriel.Bronshteyn@mto.com

                                   * admission pending

                                   Attorneys for the National Endowment for
                                       Democracy




                                      34
